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       A.      Authority to Appoint Line AFDs

        Federal defenders are authorized to fill AFD positions in such number as is authorized by
the Defender Services Committee. Committee approval is always subject to the availability of
funds, and restrictions may be imposed on that basis. In FPDOs, the number of AFD positions
must also be approved by the court of appeals for the circuit in which the FPDO is located.
CDOs do not need Circuit approval of their AFD positions.

       Individuals may be appointed to fill AFD positions only if they meet the qualification
standards set forth in the AFD position descriptions in the Defender Organization Classification
System (DOCS) manual. An AFD may be designated as a "supervisory" or "senior litigator"
AFD only if the requirements under section III.A. below are met.

       B.      Compensation of Line AFDs

               1.     Overview of Line AFD Compensation System

        The system of compensation for Line AFDs is separate and distinct from the
compensation system for supervisory and senior litigator AFDs (S/SL AFDs). (The S/SL AFD
compensation system is discussed in section III.B. of these policies.) The Line AFD
compensation system is primarily a system for determining starting salaries for newly hired
AFDs and annual pay review (APR) pay increases for currently employed Line AFDs. Line AFD
starting salary charts and APR increase charts, provided annually by ODS, are used in making
these determinations.

         Both of the Line AFD salary charts list 7 levels of salary ranges, each level being
applicable to a different level of “professional attorney experience”. Each level is identified by
its own numbered “AD-level.” (Note: “AD” is DOJ’s abbreviation of “administratively
determined”). The two digit AD-level code is formed by adding the number “2" to the first digit
of the “years of experience” column for 4 or more years experience. The AD-21 level is assigned
to the first pay range and represents professional attorney experience of less than four years. An
AFD at the AD-27 level is paid from the “at least 7 but less than 8 years of experience” range.
DOJ added the “2" to the first digit of the years of experience in order to distinguish further the
AD plan attorneys from the graded employees, whose graded system covers grades 1 to 15.

        To use these charts, the defender must determine the AFD’s level of attorney experience,
identify the corresponding “AD-level” and the applicable salary range, and then select an
appropriate salary amount from within that range. The starting salary chart provides one salary
range for each AD-level. The APR increase chart has two ranges for each AD-level (one range
for Line AFDs rated as “Meets or Exceeds Expectations” and the other range for those rated as
“Substantially Exceeds Expectations”) and the defender chooses which of the two ranges is
appropriate based on the AFD’s performance during the last 12 months.

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        The Line AFD compensation system also addresses: salaries that are set at amounts
above the maximum or below the minimum of the applicable range (“red-circled” and “green-
circled” rates, respectively), and salary caps. Annual “cost of living” type of salary increases are
described in section I.D. of these policies.

               2.      Determining the “AD-level” of Each Line AFD

        Each Line AFD must be assigned an “AD” level based on the number of years of
professional attorney experience the AFD had as of his/her last anniversary date or entrance on
duty date. “Professional attorney experience” is defined in Section II.B.4.b. of these policies.
Either the starting salary chart or the APR increase chart can be used to determine the AFD’s
AD-level in this manner. An AFD’s AD-level can be changed only on the basis of the
number of years experience the AFD had as of his/her anniversary date.

       Each Line AFD’s AD-level should be documented in his/her personnel records. These
records should note the future anniversary date on which the AFD’s AD-level will change, and
they should be kept updated with each change, so that this information may properly be used
when determining Line AFD APR pay increases each year.

               3.      AD-level Salary Minimums and Maximums

                       a.      Generally

       The AD-level minimum is the amount at the bottom of the “Meets or Exceeds
Expectations” range for that AD-level on the APR increase chart (which is the same as the
bottom of the range for that AD-level on the starting salary chart). The AD-level maximum is
the amount at the top of that level’s “Substantially Exceeds Expectations” range on the APR
increase chart. The amount at the top of the AD-29 level is the Line AFD “salary ceiling” the
highest salary level possible for a Line AFD.

                       b.      “Red-circled” and Green-circled” Rates

     “Red-circled rate salaries” are Line AFD salaries that exceed the AFD’s AD-level
maximum.3

       Red-circled rate salaries should occur only if: (1) the AFD’s salary exceeds the applicable
AD-level maximum upon conversion to the new Line AFD compensation system (on October 1,
1998), or (2) an AFD’s starting salary is set higher than the maximum pursuant to the “highest
previous rate” policy see section II.B.4.d. below). In these instances, the AFD’s salary will


       3
      Note: No AD-29 level AFDs should ever have red-circled rates since the AD-29 level
maximum is the Line AFD salary ceiling.

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not be reduced, but will be held constant until the applicable AD-level cap amount overtakes the
salary. Specifically, when an AFD’s salary is red-circled, the basic pay portion of the salary will
be held constant (i.e., the AFD will not be given any APR pay increase or the employment cost
index (ECI) increase awarded each January) until the AD-level maximum applicable to the AFD
overtakes (becomes higher than) the AFD’s salary. The applicable AD-level maximum will
eventually overtake such an AFD’s salary because the AD-level maximum will be increased by
annual ECI increases and because all red-circled AFDs will ultimately move into a higher AD-
level (with a higher AD-level maximum).

        While these red-circled AFDs may not receive ECI or APR pay increases, they will
receive the full amount of any applicable locality adjustment (changed each January) even if it
results in a salary higher than the AD-level maximum.4

        If a Line AFD’s salary exceeds the applicable AD-level maximum for any reason other
than the two stated above, then immediate action may be necessary to reduce the salary and
possibly recover overpayments pursuant to Guide to Judiciary Policy, Volume 20, Chapter 7.

        Additional policies concerning red-circled rates are stated in sections II.B.4.d. and
II.B.5.g. below.

        “Green-circled rates” are Line AFD salaries that fall below the minimum of the “Meets
or Exceeds Expectations” range applicable to the AFD’s AD-level. Green-circled rates may
occur in three instances, with varying ramifications, as follows:

   (1) upon conversion to the new Line AFD compensation system. In such instances, the AFD,
       if performing at least at the “Meets or Exceeds Expectations” level, may be given an
       immediate increase up to the applicable AD-level minimum.

   (2) when an AFD reaches an APR anniversary date that moves him/her to a higher AD-level
       (with a higher AD-level minimum) but is denied an APR pay increase due to poor
       performance (see section II.B.5.b. below), causing his/her salary to stay below the new
       AD-level minimum. Such an AFD’s salary may be raised up to the AD-level minimum
       as soon as his/her performance reaches the “Meets or Exceeds Expectations” level;

   (3) upon hiring of the AFD. As stated in section II.B.4.c. below, defenders have the
       discretion to hire an AFD at a salary that is less than the minimum of the applicable
       starting salary range (although ODS does not encourage this practice). Such an AFD may



       4
         All ECI, locality and non-foreign COLA adjustments will continue to be addressed in
memoranda provided to all federal defender organizations prior to the implementation of these
increases each January.

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       not receive any increase, other than the ECI and locality or non-foreign COLA
       adjustments, until his/her first APR anniversary date.

        Additional policies concerning green-circled rate employees are stated in sections
II.B.4.c. and II.B.5.h. below.

               4.      Setting Starting Salaries of Line AFDs

                       a.      Generally

        Starting salaries of Line AFDs must be determined using the AFD starting salary chart(s)
provided to federal defender organizations (FDOs) annually by ODS, in conjunction with the
policies for using these charts set forth below.

        The starting salary for a newly hired Line AFD is determined by selecting a salary amount
from within the applicable salary range on the Line AFD starting salary chart. This is
accomplished by: (1) determining the individual’s number of years of prior “professional attorney
experience” (as defined below), (2) using this number to determine the AFD’s AD-level and
applicable starting salary range on the starting salary chart, and (3) choosing an appropriate salary
amount from within that range. For example, when hiring an AFD with 4 years and 9 months of
professional attorney experience, the starting salary chart indicates that the starting salary should
be selected from within the AD-24 salary range. The exact amount of the salary within that
range is determined pursuant to the policies set forth in subsection II.B.4.c. below.

        Exception: (“Highest Previous Rate Policy”): See section II.B.4.d. below regarding
setting a Line AFD’s starting salary higher than the AD-level maximum in order to match the
AFD’s salary in a previous federal service or FDO position.

                       b.      Determining the AFD’s Number of Years of Professional Attorney
                               Experience

        In determining the number of years of professional attorney experience, only activities
that a practicing attorney would normally perform may be counted, and such experience may be
counted only from the time that the AFD completed law school. Investigative, quasi-legal, and
other types of non-attorney law enforcement-related or defense-related experience (e.g.,
experience as an agent of the Federal Bureau of Investigation or as an investigator in an FDO are
not creditable in determining years of professional attorney experience). At the defender’s
discretion, legal research and writing experience obtained after graduation from law school may
be counted as professional attorney experience.

       Any calculation of years of professional attorney experience should include time the
attorney was employed (in a position that provided professional attorney experience) but on leave


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including, but not limited to, time spent on leave without pay, maternity leave, or while on
sabbatical.

       In determining the amount of experience to be credited, it is important to project an
entrance-on-duty date. Applicants may acquire additional experience between the time their
applications are submitted and the time they actually enter on duty.

                      c.      Selecting a Starting Salary Amount from within the Salary Range

        Once the AFD’s number of years of professional attorney experience has been
determined, the starting salary amount must be selected from within the corresponding starting
salary range.

        Defenders are encouraged to set Line AFD starting salaries at the minimum amount in the
applicable range. However, when the federal defender believes that a salary higher than the
minimum is warranted, he/she may set the salary at any amount within the applicable starting
salary range, as necessary: (1) to ensure consistency between the salary of the AFD being hired
and the salaries of other AFDs in the organization, based on their relative experience and
qualifications, or (2) to match the salary of an AUSA, having similar (or lesser) experience,
qualifications, and responsibilities, in the same district(s) served by the FDO. ODS approval is
not needed to award a starting salary higher than the minimum of the applicable range as long as
the maximum of the range is not exceeded.

        ODS approval of a Line AFD starting salary is needed only for salaries set higher than the
maximum of the applicable starting salary range (except that ODS approval is not needed if a
starting salary higher than the maximum is determined pursuant to the “highest previous rate”
policy set forth in II.B.4.d. below.)

        Note that some AD-21 Line AFDs will remain at the AD-21 level for anywhere from zero
to four years before becoming an AD-24. Consequently, such AFDs will be subject to the same
AD-21 range maximums (adjusted only for cost of living increases) year after year until the AFD
reaches four years of attorney experience and becomes an AD-24. Accordingly, ODS
recommends that when hiring a Line AFD at the AD-21 level, defenders set the starting salary
low enough in the range to allow for appropriate APR pay increases each year until the AFD
becomes an AD-24.

        At the federal defender's discretion, Line AFD starting salaries may be set lower than the
minimum amount of the applicable range, although defenders are reminded that such a practice
will likely result in AFD salaries that are below those of comparably experienced and qualified
AUSAs in the same district(s). Salaries that are below the minimum of the applicable starting
salary range are “green-circled rates.” A starting salary set at a green-circled rate may not be
increased up to the AD-level minimum until the AFD’s first APR anniversary date. (See section
II.B.3.b. above.)

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       ODS advises that the justification for setting any starting salary at an amount other than
the minimum amount of the applicable range should be documented in the AFD's personnel file.

                       d.      “Highest Previous Rate” Policy

        Under the “highest previous rate” policy, a Line AFD’s starting salary may be set higher
than the maximum of the applicable starting salary range if necessary to match the salary
(adjusted for locality) the AFD previously earned as an employee of any federal government
entity or any FDO (including any community defender organization). Such salaries will be
considered “red-circled rates,” and subject to the provisions of section II.B.3.b. providing
that such salaries must be held constant until they are eventually overtaken by a higher
AD-level maximum. Under no circumstances may a Line AFD’s salary be set higher than the
Line AFD “salary ceiling” (i.e., the highest allowable salary for Line AFDs, which is equal to the
maximum of the AD-29 level.)

        Setting an AFD’s starting salary based on the AFD’s “highest previous rate” does not
require ODS approval, but such an action should be fully documented by the FDO. FDOs are
encouraged to consult with ODS prior to setting any AFD’s starting salary based on this policy.

                       e.      Changes to Established Starting Salaries

        Once a starting salary amount has been established, it may not be later adjusted
retroactively under any circumstances. It may be later adjusted prospectively only in instances of
administrative error, a misunderstanding with respect to pertinent qualifications, or if the starting
salary was improperly set at a red-circled rate and must therefore be immediately reduced (see
section II.B.3.b. above.).

               5.      Annual Pay Review (APR) Pay Adjustments for Line AFDs

                       a.      Generally

        APR-related pay adjustments are discretionary performance based increases in salary
and/or bonus payments that can be given annually to an "eligible" AFD on his/her "anniversary
date" as defined in section b. below. Amounts, requirements, and limitations on APR-related pay
adjustments is discussed in sections c. through h. below.




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                       b.     Eligibility to Receive an APR Pay Increase

        An AFD is eligible for an APR pay increase only if: (1) the AFD's performance during
the previous 12 months is determined to be at least "Meets or Exceeds Expectations" and (2) the
AFD's salary, before the increase, is below the maximum of the APR salary range applicable to
the AFD’s AD-level and performance rating, as of this new APR anniversary date.

        Eligible AFDs may receive an APR pay increase each year on their “anniversary date.”
For all FPDOs, and for CDOs on a bi-weekly payroll system, the AFD’s anniversary date occurs
on each 52 week anniversary of the AFD’s entrance-on-duty date. For CDOs on a semi-monthly
payroll system, the anniversary date occurs on each one-year (exactly) anniversary of the AFD’s
entrance-on-duty date.5 (I.e., The anniversary date always falls on the first day of a pay period.)

                       c.     Evaluation of AFDs’ Performance as a Basis for Determining APR
                              Pay Increases

        Although the APR increase charts and policies assume that APR pay increase
determinations are made based on a performance rating of each AFD, there are no formal policies
governing performance evaluations of employees in federal defender organizations.
Accordingly, federal defenders may use their own performance evaluation systems. It is
suggested that defenders use systems with at least three ratings categories, including at least two
categories for which an APR pay increase can be given (consistent with the APR increase chart)
and at least one lower rating for which an APR pay increase cannot be given. (The rating
categories listed on the APR increase chart are the same as those used for AUSAs.) Any
organization that does not have a performance evaluation system in place may wish to consider
the system suggested by the Defender Services Advisory Group's ad hoc group that conducted a
study of this issue. That group suggested using four ratings categories.

       Regardless of the performance evaluation system used by an organization (if any), the
APR increase chart should always be applied in determining the amounts of all Line AFDs' salary
increases. If the rating categories in an organization's evaluation system differ from the rating
categories on the APR increase chart, the defender should use his/her discretion in determining
the appropriate rating on the APR pay increase chart for each eligible AFD.

                       d.     Determining the APR Pay Increase Amount

        The APR increase chart is used to determine each Line AFD’s APR pay increase by
selecting a new (higher) salary amount from within the applicable salary range on the chart. The
applicable range is found at the intersection of: (1) the column representing the AFD’s


       5
          See section IV.C. below for different rules regarding anniversary dates for AFDs who
transfer from one defender organization to another.

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performance rating (for performance over the previous 12 months), and (2) the row representing
the AFD’s AD-level (based on his/her years of “professional attorney experience”) as of the
effective date of the salary increase.

       The exact amount chosen from within the applicable range is determined totally at the
defender’s discretion subject to the limitations described in II.B.5.e-f below.

       For example, consider an AFD whose performance falls into the “Meets or Exceeds
Expectations” performance category and who has a total of 5 years and 7 months of professional
attorney experience at the time of the APR pay increase. This AFD’s new (increased) salary
amount would be selected from anywhere within the salary range found in the AD-25 row and
under the “Meets or Exceeds Expectations” column, as long as the amount chosen is not more
than 10% higher than the old salary.

       As indicated above, if a Line AFD’s salary prior to the APR pay increase is higher than
the maximum of the range applicable to the AFD’s performance rating, he/she is not eligible to
receive an APR pay increase and will not become eligible until the next anniversary date at
which his/her salary does not exceed the applicable range maximum.

                      e.     APR Bonus Payments

         Defenders are authorized to approve one APR-based bonus payment in addition to, or in
lieu of, an APR pay increase for each AFD whose performance “Meets or Exceeds Expectations”
at the time of the AFD’s anniversary date. These bonus payments must be documented and
based on a performance review conducted by the defender.

     A bonus payment is a one-time lump sum payment that does not increase the salary of an
AFD. For FPDOs, bonuses are paid from BOC 1157 in the “Personnel” budget category.
FPDOs should use Nature of Action (NOA) code 944 for attorney bonuses.

         Tax and Benefit Ramifications of Performance Bonuses: Note that bonus payments are
considered to be “income,” and therefore are subject to all applicable federal, state and local
income taxes, as well as to Social Security and Medicare taxes. (There are standard tax rates
specific to bonus payments.) However, for federal employees (including FPDOs), bonus
payments are not considered part of the employee’s “salary” for any purpose, including for
purposes of determining benefit contributions and payments that are calculated as a percentage of
the employee’s “salary” (e.g., calculations of: an employee’s maximum allowable contribution
to the Thrift Savings Plan, contributions to CSRS or FERS, payout of CSRS or FERS benefits,
life insurance premiums, workman’s compensation benefits, severance pay, or annual leave
payout upon separation from the government). CDOs should consult their benefit providers and
other appropriate sources to determine if/when bonus amounts are factored into calculations of
benefits or other payments.


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                       f.     Limitations on APR Pay Adjustments

        Total APR-related pay adjustments, i.e. increases in salary and bonus payments, are
limited to 10 percent of pay prior to the AFD’s anniversary date. Pay adjustments that exceed
10 percent require the approval of the Assistant Director, Office of Defender Services.

                       g.     Increases/Bonuses for “Red-Circled Rate” AFDs

        As stated in section II.B.5.b.above, in order to be eligible to receive an APR pay increase,
an AFD’s salary must be lower than the maximum of the APR salary range he/she qualifies for
on his/her anniversary date. Note that, on their APR anniversary dates, red-circled rate AFDs
with 4 to 9 years of professional attorney experience will advance to the next higher AD-level,
and the maximum of the new AD-level will likely be higher than the AFD’s salary. Thus, most
of these AFDs’ salaries will no longer be red-circled, and they will become eligible for an APR
pay increase. In all cases, however, an AFD may only be given an APR pay increase up to
the maximum of the salary range for the performance rating and the AD-level applicable to
that AFD. Red-circled rate AFDs are eligible for an APR bonus payment, regardless of salary,
as outlined in section II.B.5.e-f above.

                       h.     Increases/Bonuses for “Green-circled Rate” AFDs

        As stated in section II.B.5.b. above, if the defender believes that a Line AFD’s
performance is not at least “Meets or Exceeds Expectations,” the AFD is not eligible for an APR
pay increase. If the AFD moves to a higher AD-level on his/her anniversary date (with a higher
AD-level minimum), but is denied an APR salary increase, it may result in leaving the AFD’s
salary below the minimum of the “Meets or Exceeds Expectations” salary range for the AFD’s
new AD-level (i.e., it would be a “green-circled rate”). If, at any time, such an AFD’s
performance improves to the “Meets or Exceeds Expectations” level, the defender may give the
AFD an immediate salary increase up to the minimum of the “Meets or Exceeds Expectations”
range for the AD-level that the AFD qualified for as of his/her last APR anniversary date. Such
increases are prospective only and the AFD’s APR anniversary date would not change. Once at
the “Meets or Exceeds Expectations” range, the AFD is eligible to receive an APR bonus
payment as outlined in sections e. and f. above.

               6.      Other Compensation for Line AFDs

                       a.     Salary Increase Via Elevation to a Supervisory or Senior Litigator
                              AFD Position

        When a Line AFD is designated as a supervisory or senior litigator (S/SL) AFD, his/her
salary may be increased up to any amount that is equal to or less than the salary cap for the AFD's
new S/SL AFD level. (These caps are discussed in section III.B. below.) Criteria for


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determining whether or not an AFD is eligible to be appointed to a supervisory or senior litigator
position is provided in section III.A. below.

      Upon designation to a S/SL AFD classification, the AFD's APR anniversary date is
changed to the anniversary of the effective date of the action.

                      b.      Salary Inequity Increases

      AFD salary inequity increases, which may be available to both Line AFDs and S/SL
AFDs, are discussed in section IV.A. below.

               7.     Salary Caps for Line AFDs

        Under no circumstances may any Line AFD be paid a salary that exceeds the Line AFD
“salary ceiling” for his/her locality area, as listed on the Line AFD salary charts. The salary
ceiling is the maximum amount of the “Substantially Exceeds Expectations” range of the AD-29
level.

        In addition, each Line AFD is “capped” at the maximum salary for his/her AD-level, and
if a Line AFD’s salary exceeds the applicable AD-level maximum (i.e., red-circled rate AFDs),
steps must be taken to bring the salary within that AD-level maximum, as explained in section
II.B.3.b.

       Section IV.B. below sets forth policies regarding corrective actions that must be taken
when an AFD's salary exceeds any applicable salary cap (either the Line AFD salary ceiling or
the applicable AD-level maximum). Salary caps for supervisory and senior litigator AFDs are
addressed in section III.B. below.




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participation in health and life insurance program, retirement, and the Thrift Savings Plan.
Salary is payable only by Electronic Funds Transfer (direct deposit).

How to Apply. You may apply by submitting a letter of interest, résumé, and representative
writing sample, along with 3 references, to WDNCapplication@fd.org. Please describe in
detail your experience with appellate work and motions practice.

For applicants with disabilities, this organization provides reasonable accommodations
which are decided on a case-by-case basis. To request a reasonable accommodation for any
part of the application or interview process, please submit the request in writing to
WDNCapplication@fd.org.

Position announced July 25, 2018; open until filled. Applications received by August 17,
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Registration
Space is limited, so please register as soon as possible to hold your place. Simply log
on to the conference website with your JENIE name and password to register for the
conference and for up-to-date conference information.
http://training.sdso.ao.dcn/WCC2019/


Accommodations
A block of rooms has been reserved at Virginia Crossings Hotel and Conference Center
at the GSA per diem rate (CONUS) of $94 per night, single or double occupancy +
applicable taxes.

  Virginia Crossings Hotel and Conference Center
  1000 Virginia Center Parkway
  Glen Allen, VA 23059
  Phone: 804-727-1400

  Please make your reservation as soon as possible, but no later than April 30, 2019:
  By Phone:         888-444-6553 or 804-727-1400
  Group Code:       WPC
  Cancellations:    Permitted without penalty before 3pm on May 19, 2019 (48 hours)
  Online:           https://tapestrycollection3.hilton.com/tc/virginia-crossings-hotel/
                    Enter dates of stay at the top of the landing page and click on
                    Advanced Search to enter the Group Code. If you get an error
                    message, please call the hotel directly to make your reservation.
                    An online reservation link is also posted on the conference website.


Daily Meeting Package
We have negotiated a daily meeting package that includes continuous light refreshments
throughout the meeting and a hot buffet lunch on Wednesday. Meals at the GSA per
diem rate are available on-site in The Glen Restaurant (buffet style service) upon request.


Travel and Transportation
It is the traveler’s responsibility to secure the requisite travel authorization. All travel
expenses will be locally funded. Glen Allen is a CONUS location. Please contact National
Travel Service (1-800-445-0668) to make your travel arrangements.

By POV:
Virginia Crossings is located 15 minutes from downtown Richmond with easy access to
highway routes I-95 and I-64. Parking is complimentary at Virginia Crossings.

By Air:
The closest airport is Richmond International Airport (RIC).

By Rail:
The closest Amtrak station is Richmond-Staples Mill Road Station (RVR).




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Travel Voucher Instructions
Lunch is included on Wednesday. If you are claiming per diem, please reduce your per
diem by $14 on Wednesday. If you are claiming actual expenses, please claim no
reimbursement for lunch that day on your travel voucher.

Please refer to the Guide to Judiciary Policy for detailed information regarding
reimbursement for actual expenses and/or per diem in lieu of actual expenses of
subsistence, and specific guidance on reimbursable expenses.


Additional Information and Assistance
Should you have any questions about the program, please contact:
James Ishida at 804-916-2184 or james ishida@ca4.uscourts.gov

For travel-related questions or questions about the venue, please contact:
Caron Paniccia at 804-916-2183 or caron paniccia@ca4.uscourts.gov



Thank you, and we look forward to seeing you at the conference!




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                                                          Agenda

                      Fourth Circuit Workplace Conduct Conference
                                                      Richmond, VA
                                                     May 22-23, 2019


Wednesday, May 22

7:30 AM – 4:30 PM            Continuous Break Service                                                   Henrico Ballroom Foyer
Includes Continental breakfast, all-day beverage and snack service

8:30 AM – 5:00 PM             Registration and Conference Services                                      Henrico Ballroom Foyer

9:00 AM – 5:00 PM             GENERAL SESSION                                                                 Henrico Ballroom

9:00 AM
Welcome by the Chief Judge
The Honorable Roger L. Gregory, Chief Circuit Judge, Fourth Circuit

Conference Overview
James N. Ishida, Circuit Executive, Fourth Circuit

Conference Logistics
Caron B. Paniccia, Assistant Circuit Executive for Administration, Fourth Circuit

9:30 AM
Panel Discussion with Margaret A. Wiegand and Jill B. Langley

Perspectives from the National Workplace Conduct Working Group and Contemplated Changes to the Model EDR Plan
Margaret A. Wiegand, Circuit Executive, Third Circuit

Overview of the EDR Process
Jill B. Langley, Judicial Integrity Officer of the US Courts
Identifying inappropriate behavior; reporting inappropriate behavior; serving as an EDR resource to provide information or
guidance.

10:45 AM                      Q&A

11:00 AM                      BREAK

11:15 AM
Results of the Fourth Circuit Workplace Conduct Survey
Kim S. Llewellyn, ACE for Human Resources, Circuit Executive’s Office, Fourth Circuit
Results of the survey and how we can apply lessons learned; identifying training opportunities.

11:45 AM                      Q&A

12:00 PM                      LUNCH                                                                        The Glen Restaurant

12:30 PM – 2:30 PM            EAP Representative Available                                              Henrico Ballroom Foyer

1:30 PM                      RECONVENE IN GENERAL SESSION                                                     Henrico Ballroom
Town Hall Discussion
Felicia Cannon, Clerk of Court, US District Court, District of Maryland




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2:00 PM
Building a Culture of Civility
Honorable Robin L. Rosenberg, US District Judge, Southern District of Florida
Honorable Beth Bloom, US District Judge, Southern District of Florida
How to build a workplace culture founded on professionalism, civility, and collegiality.

3:00 PM                       Q&A

3:15 PM                       BREAK

3:30 PM                       BREAKOUT SESSIONS
Breakout 1: Jill Langley, moderated by Catherine Stavlas                                                         Henrico Ballroom
Breakout 2: Topic TBD, moderated by Tim Averill                                                                Spotsylvania Room

4:00 PM                       RECONVENE IN GENERAL SESSION                                                     Henrico Ballroom
                              Breakout Reporting and Discussion

4:15 PM
Lessons from a Circuit Mediator
Edward G. Smith, Chief Circuit Mediator, Fourth Circuit
Cynthia Mabry-King, Circuit Mediator, Fourth Circuit
How to avoid and resolve conflict: negotiate with success; observations from a mediator.

5:00 PM                       ADJOURN


Thursday, May 23

7:30 AM – 12:30 PM           Continuous Break Service                                                     Henrico Ballroom Foyer
Includes Continental breakfast, all-day beverage and snack service

9:00 AM – 12:30 PM            GENERAL SESSION                                                                  Henrico Ballroom

9:00 AM
Judiciary Code of Conduct
Robert P. Deyling, AO Assistant General Counsel & Staff to JCUS Codes of Conduct Committee
New obligations under the recently revised Judiciary Code of Conduct that apply to all court employees.

9:45 AM
Legal Considerations and Common Pitfalls
Charlene Hardy, AO Assistant General Counsel
Legal considerations and common pitfalls in handling EDR complaints; best practices; how to avoid accusations of retaliation;
preserving confidentiality.

10:30 AM                      BREAK

10:45 AM
How to Have Difficult Conversations While Building Civility
Garbo Cheung-Jasik and Michael E. Siegel, Federal Judicial Center
How to have difficult conversations with judges, supervisors, co-workers, and subordinates, while preserving and strengthening
relationships.

12:15 PM
Wrap-Up Discussions
James N. Ishida, Circuit Executive, Fourth Circuit

12:20 PM
Closing Remarks
Honorable Mark S. Davis, Chief District Judge, Eastern District of Virginia

12:30 PM                      ADJOURN


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